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 1                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
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 3
     REALTIME DATA LLC,                                     Case No. 3:17-cv-06701-EMC
 4
                            Plaintiff,
 5                                                          ORDER OF DISMISSAL WITH
            v.                                              PREJUDICE
 6

 7   BARRACUDA NETWORKS, INC.,

 8                                          Defendant.

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10
            On this day, Plaintiff Realtime Adaptive Streaming LLC (“Plaintiff”) and Defendant
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     Barracuda Networks, Inc. (“Defendant”) announced to the Court that they have resolved Plaintiff’s
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     claims for relief against Defendant asserted in this case and Defendant’s claims, defenses and/or
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14   counterclaims for relief (if any) against Plaintiff asserted in this case. Plaintiff and Defendant have

15   therefore requested that the Court dismiss Plaintiff’s claims for relief against Defendant with
16   prejudice and Defendant’s claims, defenses and/or counterclaims for relief (if any) against Plaintiff
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     without prejudice, and with all attorneys’ fees, costs and expenses taxed against the party incurring
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     same. The Court, having considered this request, is of the opinion that their request for dismissal
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     should be granted.
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21          IT IS THEREFORE ORDERED that Plaintiff’s claims for relief against Defendant are

22   dismissed with prejudice and Defendant’s claims, defenses and/or counterclaims for relief (if any)

23   against Plaintiff are dismissed without prejudice. IT IS FURTHER ORDERED that all attorneys’
24   fees, costs of court and expenses shall be borne by each party incurring the same.
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26
            DATED: September 20, 2018                       ___________________________________
27                                                          EDWARD M. CHEN
                                                            UNITED STATES DISTRICT JUDGE
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